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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
SOUTHERN DIVISION
PIKEVILLE

CRIMINAL ACTION NO, 7:24-CR-14-DCR

UNITED STATES OF AMERICA PLAINTIFF
V. PLEA AGREEMENT
CHRISTOPHER SPRINGFIELD DEFENDANT

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1, Pursuant to Federal Rule of Criminal Procedure 11(c), the Defendant will enter a
guilty plea to Count Three of the Indictment, which charges a violation of 21 U.S.C. §
841(a)(1), possession with intent to distribute controlled substances, including 40 grams or
more of a mixture or substance containing a detectable amount of fentanyl, a Schedule I
controlled substance, 50 grams or more of a mixture or substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance, and 28 grams or more of
a mixture or substance containing cocaine base, a Schedule II controlled substance. Pursuant
to Rule 11(c)(1)(A), the United States will move at sentencing to dismiss Counts One, Two,
and Four. Pursuant to Rule 11(c)(1)(A), the United States will not bring additional charges
against the Defendant based upon evidence in its possession at the time of the execution of
this Agreement and arising out of the Defendant’s conduct within the Eastern District of

Kentucky, unless the Defendant breaches this Agreement.

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2. The essential elements of Count Three are:

(a) The Defendant knowingly and intentionally possessed controlled
substances, including a mixture or substance containing a detectable
amount of fentanyl, a Schedule II controlled substance, a mixture or
substance containing a detectable amount of methamphetamine, a Schedule
I controlled substance, and a mixture or substance containing cocaine base,
a Schedule II controlled substance;

(b) The Defendant had the intent to distribute those substances;

(c) The offense involved 40 grams or more of a mixture or substance containing
a detectable amount of fentanyl, a Schedule II controlled substance, 50
grams or more of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, and 28 grams or
more of a mixture or substance containing cocaine base, a Schedule II
controlled substance; and

(d) At the time the Defendant committed the offense charged he had a final
conviction for a serious drug felony, for which he served more than 12
months of imprisonment and for which he was released from serving any
term of imprisonment related to that offense within 15 years of the
commencement of the instant offense as stated in the Indictment.

3. As to Count Three, the United States could prove the following facts that
establish the essential elements of the offense beyond a reasonable doubt, and the Defendant

admits these facts:

(a) On or about July 20, 2011, the Defendant was sentenced to 92 months of
incarceration for possession with the intent to distribute 28 grams or more
of cocaine base in violation of 21 U.S.C. § 841(a)(1) (United States District
Court for the Southern District of West Virginia, Case Number 01:16-CR-
375-BYP). Subsequent to this sentencing, the Defendant served more than
12 months in connection with this offense.

(b) On April 29, 2024, law enforcement used a confidential informant to make
a controlled purchase of over one gram of fentanyl from the Defendant at a
residence in Pike County, Kentucky, On May 17, 2024, law enforcement
used a confidential informant to make a controlled purchase over two grams
of fentanyl from the Defendant at the same residence,

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(c) On or about May 24, 2024, law enforcement executed a search warrant at
the residence in Pike County, The Defendant had been staying at this
residence and was present at the time of the search, During the search, law
enforcement located and seized over 400 grams of methamphetamine, over
200 grams of fentanyl, and over 100 grams of cocaine base. The Defendant
possessed these controlled substances and intended to distribute them.
During the search, law enforcement also located $18,537 in United States
currency and a firearm.

4. The statutory punishment for Count Three is not less than 10 years nor more than
life imprisonment, not more than a $8,000,000 fine, and at least 8 years of supervised release.
The Defendant has a prior serious drug felony conviction as set forth in the notice filed by
the United States pursuant to 21 U.S.C. § 851, and therefore the Defendant is subject to the
above enhanced statutory punishment. A mandatory special assessment of $100.00 applies,
and the Defendant will pay this assessment to the U.S. District Court Clerk as directed by

the Court.

5. Pursuant to Rule 11(c)(1)(B), the United States and the Defendant recommend
the following sentencing guidelines calculations, and they may object to or argue in favor of
other calculations, This recommendation does not bind the Court.

(a) The United States Sentencing Guidelines (U.S.S.G.) manual in effect at
the time of sentencing will determine the Defendant’s guidelines range.

(b) Pursuant to U.S.S.G, § 1B1.3, the Defendant’s relevant conduct includes
between 1,000 kilograms and 3,000 kilograms of converted drug weight
(methamphetamine mixture, fentanyl, and cocaine base) which corresponds
to a base offense level of 30.

(c) Pursuant to U.S.S.G. § 3E1.1 and unless the Defendant commits another
crime, obstructs justice, or violates a court order, decrease the offense level
by 2 levels for the Defendant’s acceptance of responsibility. If the offense
level determined prior to this 2-level decrease is level 16 or greater, the United
States will move at sentencing to decrease the offense level by 1 additional
level based on the Defendant’s timely notice of intent to plead guilty.

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6. No agreement exists about the Defendant’s criminal history category pursuant to
U.S.S.G. Chapter 4.

7. The Defendant will not file a motion for a decrease in the offense level based on a
mitigating role pursuant to U.S.S.G. § 3B1.2 or a departure motion pursuant to U.S.S.G.
Chapter 5, Parts H or K.

8. The Defendant waives the right to appeal the guilty plea and conviction. The
Defendant reserves the right to appeal the sentence. Except for claims of ineffective
assistance of counsel, the Defendant also waives the right to attack collaterally the guilty
plea, conviction, and sentence.

9. Ifthe Defendant violates any part of this Agreement, the United States may void
this Agreement and seek an Indictment for any violations of federal laws, and the Defendant
waives any right to challenge the initiation of additional federal charges.

10. The Defendant consents to the forfeiture to the United States, by administrative
or judicial proceedings, of all right, title, and interest in the property listed in the forfeiture
allegation of the Indictment. The Defendant agrees that this property is subject to forfeiture
because a nexus exists between the property and the offenses to which he is pleading guilty,
as set forth in the forfeiture allegation of the Indictment. The Defendant consents to the entry
of a Preliminary Order of Forfeiture, pursuant to Federal Rule of Criminal Procedure 32.2,
and agrees take any steps necessary to assist the government in effectuating the surrender
and forfeiture of the assets identified herein, including but not limited to executing any

documents necessary for the surrender and transfor of title to the United States. The

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Defendant agrees not to file a claim or petition seeking remission or otherwise contesting the
forfeiture of the assets identified herein in any administrative or judicial proceeding, or to
assist any other person or entity with doing so, and agrees to withdraw, and hereby
withdraws, any such claim or petition that may have already submitted, The Defendant
voluntarily and knowingly waives all provisions in Rule 32.2 pertaining to notice and/or the
timing of forfeiture orders. The Defendant also waives his right, if any, to a jury trial on
forfeiture and all constitutional, legal, or equitable defenses to the forfeiture. The Defendant
agrees that this forfeiture is separate and distinct from any restitution, fine, or penalty ordered
by the Court and shall survive bankruptcy.

11. This document contains the complete and only Plea Agreement between the
United States Attorney for the Eastern District of Kentucky and the Defendant. The United
States has not made any other promises to the Defendant,

12. This Agreement does not bind the United States Attorney’s Offices in other
districts, or any other federal, state, or local prosecuting authorities.

13. The Defendant and the Defendant’s attorney acknowledge that the Defendant
understands this Agreement, that the Defendant’s attorney has fully explained this

Agreement to the Defendant, and that the Defendant’s entry into this Agreement is voluntary,

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CARLTON S. SHIER, IV
' UNITED STATES ATTORNEY

Date: [0/tte (74 By: Re ES

Andrew H. Trimble
Assistant United States Attorney

Date: _| ol 1 [ A vitighich Jo-

Christopher Springfield”

Defendant
Date: 7% LE Za ge 2K Le
( Richard Hughes
Attorney for Defendant

